     Case: 1:18-cv-07760 Document #: 31 Filed: 02/04/19 Page 1 of 1 PageID #:301



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Dynamite Marketing, Inc.                        )
                                                )      Case No. 18-cv-7760
v.                                              )
                                                )      Judge: Hon. John J. Tharp
THE PARTNERSHIPS and                            )
UNINCORPORATED ASSOCIATIONS                     )      Magistrate: Hon. Young B. Kim
IDENTIFIED ON SCHEDULE “A”                      )
                                                )
                                                )

                                       Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Dynamite Marketing, Inc.,

voluntarily dismiss any and all claims against defendants without prejudice:

 Doe           Store Name                  ID
 69            flyingcastle                58309b5a42abfb1bc255661d
 26            shoppinghu                  59511231611d6377c57f4901

Dated: February 4, 2019
                                                Respectfully submitted,



                                                By:      s/David Gulbransen/
                                                       David Gulbransen
                                                       Attorney of Record

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